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       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY
       Caption in Compliance with D.N.J. LBR 9004-1(b)

       793711
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       Attorneys for PHH MORTGAGE CORPORATION AS
       SERVICER FOR U.S. BANK NATIONAL ASSOCIATION, AS
       TRUSTEE FOR BANC OF AMERICA FUNDING
       CORPORATION MORTGAGE PASS-THROUGH
       CERTIFICATES, SERIES 2006-8T2
         In Re:                                                               Case No: 17-19534 - MBK

       THOMAS M SABO                                                          Hearing Date: 08/15/2017 @ 9:30 AM
       JOANN D SABO A/K/A JOANN GEADA
                                                                              Judge: MICHAEL B KAPLAN

                                                                              Chapter: 13


                                        CERTIFICATION OF PARTICIPANT
                                             REGARDING MOTION FOR RELIEF


             I HEREBY CERTIFY that with respect to the copy of the captioned Motion for Relief submitted to
      the Court, the following conditions have been met:

(a)   The Affiant has acknowledged the genuineness of the original signature;

(b) The original document was executed in completed form prior to facsimile transmission;

(c)    The document or a copy with an original signature affixed to it will be obtained by the Participant within seven
      business days after the date the document or pleading with the facsimile signature was electronically filed with the
      Court; and

(d) In accordance with the Court’s Administrative Procedures for Filing, Signing, and Verifying Documents by Electronic
    Means (collectively, the “Administrative Procedures”), at paragraph II C.2, the document containing the original
    signature will be maintained in paper form by the Participant for a period not less than seven years from the date of
    closure of the case or proceeding in which the document is filed; and that upon required the original document must be
    provided to other parties or the Court for review.


                                                            /s/ Nicholas V. Rogers
                                                            Nicholas V. Rogers, Esq.
                                                            Phelan Hallinan Diamond & Jones, PC
                                                            400 Fellowship Road, Suite 100
                                                            Mt. Laurel, NJ 08054
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                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF NEW JERSEY
In Re:                                                                          Case No.:              17-13167-MBK
                                                                                                  ____________________
Thomas M Sabo and
                                                                                Judge:                    Kaplan
                                                                                                  ____________________
Joann D Sabo

                                                                                Chapter:                       13

                          Debtor(s)

                                              Chapter 13 Plan and Motions

         ‫ ܆‬Original                         ‫ ܆‬Modified/Notice Required                            ‫ ܆‬Discharge Sought
         ‫ ܆‬Motions Included                 ‫ ܆‬Modified/No Notice Required                         ‫ ܆‬No Discharge Sought

         Date:       February 24, 2017
                 ____________________

                                        THE DEBTOR HAS FILED FOR RELIEF UNDER
                                         CHAPTER 13 OF THE BANKRUPTCY CODE

                                              YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan
or any motion included in it must file a written objection within the time frame stated in the Notice. This Plan may be confirmed and
become binding, and included motions may be granted without further notice or hearing, unless written objection is filed
before the deadline stated in the Notice.

                         YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                          IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                       THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM


   Part 1:    Payment and Length of Plan


                                         100
         a. The debtor shall pay $ _______________          month
                                                   per _______________ to the Chapter 13 Trustee, starting on
        March 1, 2017
 _________________________ for approximately _______________
                                                    36       months.

         b. The debtor shall make plan payments to the Trustee from the following sources:

                 ‫܆‬   Future earnings

                 ‫܆‬   Other sources of funding (describe source, amount and date when funds are available):




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       c. Use of real property to satisfy plan obligations:

           ‫ ܆‬Sale of real property
             Description:
              Proposed date for completion: ____________________

           ‫ ܆‬Refinance of real property:
             Description:
             Proposed date for completion: ____________________

           ‫ ܆‬Loan modification with respect to mortgage encumbering property:
             Description:
             Proposed date for completion: ____________________

       d. ‫ ܆‬The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

       e. ‫ ܆‬Other information that may be important relating to the payment and length of plan:




Part 2:     Adequate Protection

      a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter
13 Trustee and disbursed pre-confirmation to ______________________________ (creditor).
      b. Adequate protection payments will be made in the amount of $ _______________ to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to: ______________________________ (creditor).

Part 3:     Priority Claims (Including Administrative Expenses)

       All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                   Type of Priority                            Amount to be Paid

Albert Russo, Trustee                     Administrative;                              To be Determined;



Yan Rudikh, Esq                           Legal;                                      $2500.00




Part 4:     Secured Claims

      a. Curing Default and Maintaining Payments
      The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations
and the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:




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Creditor                  Collateral or      Arrearage                 Interest Rate on    Amount to be          Regular Monthly
                          Type of Debt                                 Arrearage           Paid to Creditor      Payment
                                                                                           (In Plan)             (Outside Plan)
None




        b. Modification
       1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                                  NOTE: A modification under this Section ALSO REQUIRES
                                the appropriate motion to be filed under Section 7 of the Plan.


Creditor                 Collateral   Scheduled         Total            Superior Liens     Value of          Annual       Total
                                      Debt              Collateral                          Creditor          Interest     Amount
                                                        Value                               Interest in       Rate         to be
                                                                                            Collateral                     Paid
None




      2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.



        c. Surrender
       Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the following
collateral:

Creditor                                          Collateral to be Surrendered        Value of Surrendered      Remaining
                                                                                      Collateral                Unsecured Debt

Mortgage Service Cente                            1 Garretson Drive,                 $557,100.00               -0- Surrender in Full
                                                  Franklin Park, NJ                                            Satisfaction of the Loan;




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        d. Secured Claims Unaffected by the Plan
            The following secured claims are unaffected by the Plan:
            Ford Credit; Credit Acceptance;


        e. Secured Claims to be Paid in Full Through the Plan:

Creditor                                           Collateral                               Total Amount to be
                                                                                            Paid Through the Plan
None




Part 5:     Unsecured Claims


        a. Not separately classified allowed non-priority unsecured claims shall be paid:
            ‫ ܆‬Not less than $ _______________ to be distributed pro rata
            ‫ ܆‬Not less than _______________ percent
            ‫ ܆‬Pro Rata distribution from any remaining funds

       b. Separately classified unsecured claims shall be treated as follows:

Creditor                                  Basis For Separate Classification   Treatment               Amount to be Paid
None




Part 6:     Executory Contracts and Unexpired Leases

        All executory contracts and unexpired leases are rejected, except the following, which are assumed:

 Creditor                                       Nature of Contract or Lease           Treatment by Debtor
None




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Part 7:    Motions


NOTE: All plans containing motions must be served on all potentially affected creditors, together with local
form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1.
A Certification of Service must be filed with the Clerk of Court when the plan and transmittal notice are served.


        a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).
        The Debtor moves to avoid the following liens that impair exemptions:


Creditor                 Nature of       Type of Lien   Amount of        Value of        Amount of   Sum of All    Amount of
                         Collateral                     Lien             Collateral      Claimed     Other Liens   Lien to be
                                                                                         Exemption   Against the   Avoided
                                                                                                     Property

None




        b. Motion to Avoid Liens and Reclassify Claim From Secured to Completely Unsecured.
      The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:

Creditor                         Collateral                         Amount of Lien
                                                                    to be Reclassified
None




     c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured.
       The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:




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Creditor                         Collateral                      Amount to be                   Amount to be
                                                                 Deemed Secured                 Reclassified as Unsecured

None



Part 8:     Other Plan Provisions

       a. Vesting of Property of the Estate
           ‫܆‬   Upon confirmation
           ‫܆‬   Upon discharge

        b. Payment Notices
     Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

        c. Order of Distribution
        The Trustee shall pay allowed claims in the following order:
           1) Trustee commissions
           2) ___________________________________________________________
              Administrative and Priority;

           3) ___________________________________________________________
              Secured Claims;

           4) ___________________________________________________________
              Unsecured Claims;

        d. Post-Petition Claims
      The Trustee ‫ ܆‬is, ‫ ܆‬is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in
the amount filed by the post-petition claimant.

Part 9:     Modification

        If this Plan modifies a Plan previously filed in this case, complete the information below.
        Date of Plan being Modified: _________________________.

Explain below why the plan is being modified:                    Explain below how the plan is being modified:




       Are Schedules I and J being filed simultaneously with this Modified Plan?         ‫ ܆‬Yes         ‫ ܆‬No




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Part 10:   Sign Here


      The Debtor(s) and the attorney for the Debtor (if any) must sign this Plan.


      Date: ______________________________
            February 24, 2017                                       /s/ Yan Rudikh
                                                                    ______________________________
                                                                    Attorney for the Debtor


      I certify under penalty of perjury that the above is true.


            February 24, 2017
      Date: ______________________________                          /s/ Thomas M. Sabo
                                                                    ______________________________
                                                                    Debtor


             February 24, 2017
      Date: ______________________________                          /s/ Joann D. Sabo
                                                                    ______________________________
                                                                    Joint Debtor




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